 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 1 of 12 PageID 1




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


ANDY TONG,
                                                         CASE NO.:
               Plaintiff,

v.

WELLS FARGO BANK, N.A., a foreign
profit corporation,

            Defendant.
____________________________________/

               VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff ANDY TONG hereby sues Defendant, Wells Fargo Bank, N.A., and states as

follows:

                                            Jurisdiction

       1.      Plaintiff, Andy Tong (“Mr. Tong”), is an individual residing in Duval County,

Florida.

       2.      Defendant, Wells Fargo Bank, N.A. (“WFB”) is a Foreign Profit Corporation with

a principal address of 420 Montgomery Street, San Francisco, California 94163.

       3.      All actions material to these proceedings occurred within Columbia County,

Florida.

       4.      Venue is proper under 28 U.S.C. 1391, as all persons, local government authorities

and private business entities, involved in this dispute reside or are authorized to do business within

the geographic boundaries subject to the Middle District of Florida, Jacksonville Division.

       5.      This Court has jurisdiction of this cause pursuant to 28 U.S.C. §1331, specifically

under 15 U.S.C. §1693m(g) and 28 U.S.C. §1343.
 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 2 of 12 PageID 2




                                         Background

        6.    At all times in question, Mr. Tong was the owner and holder of Money Market

Account Number xxxxxxxxx5467 (the “Account”) with Defendant, WFB.

        7.    The Account is located in the United States.

        8.    An ATM/CheckCard Number xxxxxxxxxxxx5467 (“Check Card”) was issued on

the Account to Mr. Tong.

        9.    At all times in question, Mr. Tong was the sole authorized signatory on the Account.

        10.   At all times in question, Mr. Tong was living in Columbia County, Florida.

        11.   On or about January 11, 2021 Mr. Tong went to the Wells Fargo branch in

Gainesville to withdraw money from his account and noticed unauthorized funds were withdrawn.

        12.   On or about January 11, 2021, Mr. Tong advised WFB and reported the

unauthorized transactions on the Account and requested all records pertaining to the Account.

        13.   Upon notifying WFB of the unauthorized transactions, WFB representative advised

Mr. Tong that the Account was frozen so that no further unauthorized transactions could be made.

        14.   The Check Card was never out of Mr. Tong’s possession or control.

        15.   Prior to January 11, 2021, Mr. Tong never learned of or had reason to suspect of

any counterfeit card or of any loss or theft of Account information used to make the unauthorized

transfers.

        16.   With the exception of the occasional gas purchase, all of the transactions identified

on the attached Exhibit “A” were unauthorized (the “Unauthorized Transactions.”)

        17.   As a result of the Unauthorized Transactions, the Account and Mr. Tong have lost

approximately $454,636.17.

        18.   WFB is considered a “financial institution” per 15 U.S.C. §1693a(9).



                                                2
 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 3 of 12 PageID 3




       19.     “Electronic funds transfer” is defined as “any transfer of funds . . . which is initiated

through an electronic terminal, telephonic instrument, or computer or magnetic tape so as to order,

instruct, or authorize a financial institution to debit or credit an account. Such term includes . . .

direct deposits or withdrawals of funds . . . .” 15 U.S.C. § 1693a(7); see also 12 C.F.R. § 205.3(b).

       20.     The rights, liabilities, and responsibilities of the parties to this action, with respect

to the unauthorized transactions on the Account, are governed by the Electronic Fund Transfer Act

(15 U.S.C. § 1693, et seq.) (the “EFTA”).

       21.     The purpose of the EFTA is “to provide a basic framework establishing the rights,

liabilities, and responsibilities of participants in electronic fund transfer systems. The primary

objective of this subchapter, however, is the provision of individual consumer rights.” (15 U.S.C.

§ 1693, ¶ (b) of the introduction).

       22.     According to § 1693m(a) of the EFTA, “ . . . any person who fails to comply with

any provision of this subchapter with respect to any consumer, except for an error resolved in

accordance with section 1693f of this title, is liable to such consumer in an amount equal to the

sum of . . . (1) any actual damage sustained by such consumer as a result of such failure; (2)(A) in

the case of an individual action, an amount not less than $100 nor greater than $1,000; . . . and (3)

in the case of any successful action to enforce the foregoing liability, the costs of the action,

together with a reasonable attorney’s fee as determined by the court.”

       23.     In order to be liable to Mr. Tong under § 1693m(a) of the EFTA, WFB must have

failed to resolve an error in accordance with § 1693f of the EFTA.

       24.     For purposes of § 1693f of the EFTA, the unauthorized transactions reported by

Mr. Tong constitute errors. See, 15 U.S.C. § 1693f(f)(1).




                                                  3
 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 4 of 12 PageID 4




       25.     Pursuant to § 1693f of the EFTA, WFB was required to investigate the unauthorized

transactions reported by Mr. Tong, determine whether an error had occurred, and report or mail

the results of such investigation and determination to Mr. Tong and/or the other account holders

within ten (10) business days after WFB received notice of the Unauthorized Transactions (i.e.,

within 10 business days after January 11, 2021 or, in lieu of such requirement, WFB could have,

within ten (10) business days after receiving such notice, provisionally re-credited the Account for

the amount of the unauthorized transactions, subject to 15 U.S.C. § 1693g, including any

applicable interest, pending the timely conclusion of WFB’s investigation and determination of

whether an error had occurred on the WFB Account. See, 15 U.S.C. § 1693f(a) and (c).

       26.     However, during the requisite ten (10) business-day period, WFB did not report or

mail the results of WFB’s investigation and determination of Mr. Tong’s claim, nor did WFB

provisionally re-credited the Account for any amount of the unauthorized transactions pending the

conclusion of WFB’s investigation and its determination of whether an error had occurred on WFB

Account.

       27.     Moreover, WFB was obligated to re-credit the Account for the amount of the

Unauthorized Transactions, as the Check Card used to make the Unauthorized Transactions on the

Account was not an accepted card or other means of access as defined in § 1693a of the EFTA.

See, 15 U.S.C. § 1693g.

       28.     Even if the Check Card used to make the Unauthorized Transactions on the Account

had been an accepted card or other means of access, as defined in § 1693a of the EFTA, WFB

would have been required to reimburse their respective portions of the Account for the amount of

the Unauthorized Transactions, less a maximum of fifty dollars ($50.00). See, 15 U.S.C. § 1693g.

       29.     WFB never re-credited the Account for any amount.



                                                 4
 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 5 of 12 PageID 5




       30.      By letter dated January 25, 2021, WFB denied Mr. Tong’s claim of January 11,

2021. A true and correct copy of the Claim Denial Letter is attached hereto as Composite Exhibit

“B.”

       31.      January 25, 2021 was more than ten (10) business days after January 11, 2021.

       32.      In the Claim Denial Letter, WFB stated that Mr. Tong had rights to obtain records

upon which WFB decision was based. See Composite Exhibit “B.”

       33.      WFB was required, upon request, to promptly deliver or mail to Mr. Tong

reproductions of all documents upon which WFB relied on to conclude that the unauthorized

transactions (i.e., errors) did not occur. See, 15 U.S.C. § 1693f(d).

       34.      On or about February 16, 2021, Mr. Tong requested the records upon which WFB

decision was based.

       35.      As of the date of this filing, WFB has not reimbursed Mr. Tong for the unauthorized

expenditures.

       36.      Mr. Tong hired the undersigned counsel to represent him in this action, and has

agreed to pay a reasonable fee and costs to the undersigned counsel in connection with such

representation in accordance with 15 U.S.C. §1693m(a)(3).

       37.      All conditions precedent to this action have been performed, have occurred, or have

been waived.

                                       COUNT I
                              VIOLATION OF 15 U.S.C. §1693f(a)

       38.      Plaintiff incorporates by reference in this count all allegations set forth above in

Paragraphs 1 through 37.




                                                  5
 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 6 of 12 PageID 6




          39.    This is an action for violation of 15 U.S.C. §1693f(a), which requires WFB

investigate the alleged error and mail the results of the same to the consumer within ten (10)

business days.

          40.    WFB did not, within ten (10) business days after receiving Mr. Tong’s claim of

January 11, 2021, investigate the unauthorized transactions reported by Mr. Tong, determine

whether an error had occurred, and report or mail the results of such investigation and

determination to Mr. Tong.

          41.    WFB did not, within ten (10) business days after receiving Mr. Tong’s claim of

January 11, 2021, provisionally re-credited the Account for the amount of the unauthorized

transactions, subject to 15 U.S.C. § 1693g, including any applicable interest, pending the timely

conclusion of WFB’s investigation and determination of whether an error had occurred on the

Account.

          42.    By failing to timely report or mail the results of its purported investigation or, in

lieu thereof, provisionally re-credit the Account, WFB violated 15 U.S.C. § 1693f(a).

          WHEREFORE, Plaintiff ANDY TONG demands judgment against the Defendant,

WELLS FARGO BANK, N.A., for actual damages, statutory damages of $1,000.00, attorneys’

fees and costs, and interest, plus any and all other relief this Honorable Court deems just and

proper.

                                        COUNT II
                               VIOLATION OF 15 U.S.C. §1693f(c)

          43.    Plaintiff incorporates by reference in this count all allegations set forth above in

Paragraphs 1 through 37.

          44.    This is an action for violation of 15 U.S.C. §1693f(c), which permits WFB, in lieu

of investigating and providing the results to the consumer within ten (10) days, provisionally

                                                   6
 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 7 of 12 PageID 7




recredit the consumer’s account pending the conclusion of an investigation in to the alleged errors

of the account.

          45.     WFB did not, within ten (10) business days after receiving Mr. Tong’s claim of

January 11, 2021 investigate the Unauthorized Transactions reported by Mr. Tong, determine

whether an error had occurred, and report or mail the results of such investigation and

determination to Mr. Tong; therefore, WFB was required to provisionally re-credited the Account,

within said ten (10)-business day period, for the amount of the Unauthorized Transactions, subject

to 15 U.S.C. § 1693g, including any applicable interest, pending the timely conclusion of WFB’s

investigation and determination of whether an error had occurred on the Account.

          46.     By failing to provisionally re-credit the Account, WFB violated 15 U.S.C. §

1693f(c).

          WHEREFORE, Plaintiff ANDY TONG demands judgment against the Defendant,

WELLS FARGO BANK, N.A., for actual damages, statutory damages of $1,000.00, attorneys’

fees and costs, and interest, plus any and all other relief this Honorable Court deems just and

proper.

                                        COUNT III
                               VIOLATION OF 15 U.S.C. §1693f(d)

          47.     Plaintiff incorporates by reference in this count all allegations set forth above in

Paragraphs 1 through 37.

          48.     This is an action for violation of 15 U.S.C. §1693f(d), which requires that WFB

provide an explanation of its findings to the consumer within three (3) business days of the

conclusion of its investigation. Moreover, upon the request of the consumer, it shall promptly

deliver reproduction of all financial documents relied upon in concluding that an error did not

occur.

                                                   7
 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 8 of 12 PageID 8




          49.   Upon receipt of the records request by Mr. Tong, WFB was required to promptly

deliver or mail reproductions of all documents upon which WFB relied to conclude that the

Unauthorized Transactions did not occur.

          50.   WFB did not promptly deliver or mail any documents or otherwise respond to the

Mr. Tong’s records request.

          51.   By failing to promptly deliver or mail reproductions of all documents upon which

WFB relied to conclude that the Unauthorized Transactions did not occur, WFB violated 15 U.S.C.

§1693f(d).

          WHEREFORE, Plaintiff, ANDY TONG demands judgment against the Defendant,

WELLS FARGO BANK, N.A., for actual damages, statutory damages of $1,000.00, attorneys’

fees and costs, and interest, plus any and all other relief this Honorable Court deems just and

proper.

                                   COUNT IV
                       TREBLE DAMAGES UNDER 15 U.S.C. §1693f(e)

          52.   Plaintiff incorporates by reference in this count all allegations set forth above in

Paragraphs 1 through 37.

          53.   This is an action for violation of 15 U.S.C. §1693f(e), which provides that a

consumer shall be entitled to treble damages for any action if the trial court finds a violation of

subsection 15 U.S.C. §1693f(c) and the financial institution did not make a good faith investigation

of the alleged error; have a reasonable basis for believing the consumer’s account was not in error;

or knowingly and willfully concluding the consumer’s account was not in error when such a

conclusion could not reasonably have been drawn for the evidence available to the financial

institution at the time of the investigation.




                                                 8
 Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 9 of 12 PageID 9




       54.      Upon information and belief, WFB (a) did not make a good faith investigation of

the alleged error, or (b) did not have a reasonable basis for believing that the Account was not in

error; or (c) knowingly and willfully concluded that the Account was not in error when such

conclusion could not reasonably have been drawn from the evidence available to WFB at the time

of its investigation; therefore, pursuant to § 1693f(e) of the EFTA, Mr. Tong is entitled to treble

damages determined under § 1693m(a)(1) of the EFTA.

       WHEREFORE, Plaintiff, ANDY TONG demands judgment against the Defendant,

WELLS FARGO BANK, N.A., for treble the amount of actual damage suffered by Plaintiff,

ANDY TONG as a result of Defendant’s violations of the EFTA, plus any and all other relief this

Honorable Court deems just and proper.

                                  COUNT V
                 VIOLATION OF UCC ARTICLE 4A (Fla. Stat. Chap. 670)

       55.      Plaintiff incorporates by reference in this count all allegations set forth above in

Paragraphs 1 through 37.

       56.      The Unauthorized Transactions in Exhibit “A” are governed by Article 4A of the

Uniform Commercial Code, codified at Fla. Stat. §§670.101, et seq. (“Article 4A”).

       57.      WFB’s conduct, as more fully set forth herein, violates Article 4A.

       58.      The Unauthorized Transactions were processed and facilitated by WFB in violation

of §670.202 and/or §670.203, Fla. Stat. and is, therefore, unenforceable against the Plaintiff.

       59.      Specifically, the Unauthorized Transactions was not caused, directly or indirectly,

by a person who was authorized to originate a wire pursuant on the WFB Account as an

“Originator.”




                                                 9
Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 10 of 12 PageID 10




        60.    By failing to contact the Plaintiff, WFB failed to comply with, and adhere to, a

commercially reasonable security procedure as expressed to WFB and specifically chosen by the

Plaintiff.

61.     WFB failed to comply with the security procedures designed to protect the Plaintiff when

it failed to contact the Plaintiff to confirm the Unauthorized Transactions. By doing so, WFB failed

to accept the wire transfer require in good faith and in compliance with commercially reasonable

security procedures.

62.     Accordingly, the Unauthorized Transactions were not authorized and is not effective as the

order of Plaintiff pursuant to §670.202, Fla. Stat. and/or is not enforceable against Plaintiffs under

§670.203, Fla. Stat.

63.     WFB is obligated to refund the entire amount of the Unauthorized Transactions to Plaintiff,

plus interest pursuant to §670.204, Fla. Stat.

64.     As a direct and proximate result of WFB’s multiple statutory violations, Plaintiff has

suffered and continue to suffer damages.

        WHEREFORE, Plaintiff, ANDY TONG, demands judgment against Defendant, WELLS

FARGO BANK, N.A., for damages, costs and such other and further relief as this Court deems

just and proper.

                                      Demand for Jury Trial

        Plaintiff, ANDY TONG, demands trial by jury on all issues so triable.




DATED this 16th day of December, 2021.




                                                 10
Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 11 of 12 PageID 11




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                                     11
Case 3:21-cv-01236-MMH-LLL Document 1 Filed 12/16/21 Page 12 of 12 PageID 12
